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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS

                                      )
SPRINT COMMUNICATIONS COMPANY L.P., )
                                      )
                          Plaintiff,  )
                                      )                           Case No. 05-2433-JWL
               v.                     )
                                      )
VONAGE HOLDINGS CORP. and             )
VONAGE AMERICA, INC.,                 )
                                      )
                          Defendants. )
                                      )


    DEFENDANTS VONAGE HOLDINGS CORP. AND VONAGE AMERICA, INC.’S
                 SECOND SUPPLEMENTAL EXHIBIT LIST

          Defendants Vonage Holdings Corp. and Vonage America, Inc. (collectively "Vonage"),

respectfully submit the following list of exhibits that may be offered at trial during Vonage's case

in chief. The following list does not include all demonstrative exhibits or exhibits to be offered

by Vonage for purposes of impeachment, rebuttal, or cross-examination.

          Vonage reserves the right to further supplement this list, including in the event Plaintiff

produces additional documents or things before trial and following additional depositions, if any,

of Plaintiff's designated trial witnesses and witnesses designated pursuant to Federal Rule of

Civil Procedure 30(b)(6).

No.             Description                                        I.D.      Off.      Adm. Deposition
                                                                                            or Witness
1001.           DuRee Deposition Ex. 2 - Patent Application for
                Architecture #2 KAM01482
1002.           Duree Deposition Ex. 3- Excerpts of BB-IN
                Strategic Plan
1003.           Duree Deposition Ex. 4 -5-15-92 Sprint
                SCP/DINA Platform Design Statement



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No.             Description                                        I.D.   Off.   Adm. Deposition
                                                                                      or Witness
                KAM00120
1004.           Duree Deposition Ex. 5 -10-15-93 “Intelligent
                Hybrid Network Architecture” SPRp-01-029-
                0001-
1005.           Duree Deposition Ex. 6 - 6-27-94 Sprint
                Broadband - Intelligent Network Prototype
                Project Authorization K4963000 (SPRp-01-029-
                00075 through SPRp-01-00104)
1006.           Duree Deposition Ex. 7 - 9-29-95 CCM Phase I
                Architecture III Requirements (SPRp-007-01-
                00466)
1007.           Duree Deposition Ex. 8 -11-08-97 JCS2000
                CP/CPCS-AVM Extended LAB Trial SPRe-008-
                01-06853
1008.           Duree Deposition Ex. 9 -11-18-96 JCS2000
                Software Service Architecture SPRe-004-01-
                06269
1009.           Duree Deposition Ex. 10 -1-22-98 JCS2000
                Bonanza Project Release 1.2 High Level
                Architecture SPRe-001-01-146051
1010.           Duree Deposition Ex. 11 -1998 The Evolution of
                JCS2000 SPRe-002-01-07840
1011.           Ball Deposition Ex. 2 - 1 1-22-06 Vonage’s Third
                Notice of 30(b)(6) Deposition
1012.           Ball Deposition Ex. 3 - 6-2-98 Sprint and Cisco
                Memo of Understanding SPRp-012-01-00280 -
                SPRp-012-01-00296
1013.           Ball Deposition Ex. 4 - 6-2-98 MOU (SPRp-012-
                01 -00280-SPRp-012-01 -00296
1014.           Ball Deposition Ex. 5 -12-14-98 Sprint and Cisco
                Master Purchase Agreement SPRe-012-01-00897
1015.           Ball Deposition Ex. 6 -12-17-98 Sprint and Cisco
                Alliance Agreement SPRe-012-01-00792 through
                SPRe-012-01-00848
1016.           Ball Deposition Ex. 7 - 7-20-05 Article: “Sprint
                Deployment of End-to End Cisco IP Next-
                Generation Network Enables ‘Triple Play’ Service


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No.             Description                                               I.D.   Off.   Adm. Deposition
                                                                                             or Witness
                Offerings to Enterprise Customers Worldwide
1017.           Ball Deposition Ex. 8 - 7-11-05 Article: “Cisco, Sprint
                Extend Alliance”
1018.           Ball Deposition Ex. 9 -12-17-98 Sprint/Cisco
                License Agreement (SPRp-012-01-00237 - SPRp-
                012-01-00254)
1019.           Ball Deposition Ex. 10 -12-17-98 Sprint/Cisco
                JCS2000 Statement of Work (SPRe-012-01-
                01026)
1020.           Ball Deposition Ex. 11 - 4-20-00 Sprint/Cisco
                Agreement (SPRe-012-01-00787 - SPRe-01-
                00791)
1021.           Ball Deposition Ex. 12 - 5-14-99 Sprint
                Presentation: ‘TSfon-ION Voice Services Platform
                Alternative Analysis” (SPRe-006-01-04611)
1022.           Ball Deposition Ex. 13 - 9-24-99 Sprint
                Presentation “Circuit Switching Analysis Update”
                SPRe-006-01-04727
1023.           Ball Deposition Ex. 14 - 3-11-02 Article: “Cisco
                Introduces New SIP-enabled Voice over IP Solutions”,
                March 11, 2002
1024.           Patterson Deposition Ex. 2 - 7-02 LookSmart
                Article: VoIP ain’t easy Reality Check panelists
                say - For Starters - Voice over IP
1025.           Patterson Deposition Ex. 3 -10-17-05 Sprint -
                D1848 Integrated IP Trunking Architecture
                Blueprint Version 1.2 (SPRe-001-01-100899
                to 900)
1026.           McGrory Deposition Ex.1 - Undated List of
                Contracts (SPRe-002-01-00188 to 889)
1027.           McGrory Deposition Ex. 2 -1-14-00 JCS2000
                Financial Status (SPRe-002-01-06544)
1028.           McGrory Deposition Ex. 3 - 1 1-28-94 Anonymix
                Agreement
1029.           McGrory Deposition Ex. 4 - 2-16-97 Amendment
                to KEMM Contract
1030.           McGrory Deposition Ex. 5 - 2-16-97 Services

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No.             Description                                        I.D.   Off.   Adm. Deposition
                                                                                      or Witness
                Agreement Between Sprint Communications
                Company L.P. and KEMM Consulting, Inc.
1031.           McGrory Deposition Ex. 6 - JCS2000 Design
                Document for the 0.2 Development Phase
                March 31, 1997
1032.           McGrory Deposition Ex. 7 - 4-27-95 CCM
                Detailed Design Revision 0.1
1033.           McGrory Deposition Ex. 8 - 9-19-95 BBIN-
                KEMM-JPDN-IOD Masoud Karnali
1034.           McGrory Deposition Ex. 9 - Network Architecture
                Alternatives for CCM Masoud Kamali & Mohsen
                Emami
1035.           McGrory Deposition Ex. 10 - 4-17-95 A High
                End Multiprocessor/Multiboard System for CCM
1036.           Kaplan Deposition Ex. 3 - Bonanza Program Bi-
                Weekly Status Report for the two weeks ending:
                June 19, 1997 (SPRp-017-01-00117 to 144)
1037.           Kaplan Deposition Ex. 5 - ION Alliance
                Definitive Agreements Executive Status Report As
                of September, 1998 (SPRp-012-01-01173)
1038.           3-25-05 Vonage: The Broadband Phone Company
                PowerPoint (VON_019045 to 80)
1039.           Cordes Deposition Ex. 2 - 3-31-99 Email from
                Cordes to BBOSD (SPRe-002-01-05569 to 70)
1040.           Cordes Deposition Ex. 3 - 4-26-99 Sprint/Cisco
                Executive Conference Call Meeting Minutes
                SPRe-002-01-04634
1041.           Cordes Deposition Ex. 4 -1-14-99 JCS2000 Shut
                Down Plans (SPRe-004-01-00012 to 19)
1042.           Cordes Deposition Ex. 5 -1-11-99 Operational
                Concept Description for JCS2000 SPRe-008-01-
                07682
1043.           Cordes Ex. 6 - Detailed Requirements Statement
                Overview BBOSD-REQ-0042-04 (SPRe-008-01-
                02707 to 02754)
1044.           Cordes Deposition Ex. 7 - 7-29-99 Email from
                Ginger Chase to Cordes (SPRe-002-01-02408

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No.             Description                                         I.D.   Off.   Adm. Deposition
                                                                                       or Witness
                to 02412)
1045.           Cordes Deposition Ex. 8 - 7-15-99 Cisco Systems
                Proposal for Sprint Corporation JCS2000 Direct
                Access Lines (SPRp-004-01-00445-00488)
1046.           Cordes Deposition Ex. 9 - 9-24-99 Circuit
                Switching Analysis Update (SPRp-002-01-00718
                to 00740)
1047.           Gardner Deposition Ex. 3 - 9-22-99 Sprint/Cisco
                Management Status Conference Call Notice
                (SPRe-002-01-00474)
1048.           Gardner Deposition Ex. 4 - 9-29-95 CCM Phase I
                Architecture III Requirements (SPRp-007-01-
                00466 to 00671)
1049.           Setter Deposition Ex. 6 - Updated Sprint
                Presentation - How Does Connection Control
                Work (SPRp-01-029-00056 to 66)
1050.           Setter Deposition Ex. 11 - 6-4-97 Bonanza Project
                Detailed Requirements Statement Overview
                (SPRe-001-01-106771 to 106812)
1051.           Setter Deposition Ex. 8 -1999 Presentation:
                Bonanza Security SPRe-002-01-02530 to 02562)
1052.           Setter Deposition Ex. 9 - 7-15-98 JCS2000
                Systems Engineering Notebook for Project
                Bonanza SPRp-007-01-00294 to 00465)
1053.           Setter Deposition Ex. 10 - 6-96 Sprint ATM
                Voice-Band Multiplexer Technical Specification
                (SPRe-027-01-00048 to 00093)
1054.           Setter Deposition Ex. 12-11-8-97 Sprint JCS2000
                CP/CPCS- AVM Extended LAB Trial (SPRe-008-
                01-06853 to 06876)
1055.           Setter Deposition Ex. 13 -10-9-98 Sprint JCS2000
                Glossary of Telecommunications Terms (SPRe-
                008-01-06956 to 07142)
1056.           Sims Deposition Ex. 5 - 4-23-07 Answer.com
                Printout - Advanced Fibre Communications, Inc.
1057.           Sims Deposition Ex. 9 - 4-28-97 Kansas City
                Business Journal Article


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No.             Description                                         I.D.   Off.   Adm. Deposition
                                                                                       or Witness
1058.           Sims Deposition Ex.10 3-13-06 Wholesale Master
                Services Agreement (SPRe-025-01-00009-SPRe-
                025-01-00074)
1059.           Wicker Deposition Ex. 11 - 3-25-04 Wicker
                Declaration in Foundry Networks v. Nortel
                Networks Case
1060.           Nelson Deposition Ex. 1 -1-19-99 Sprint/Cisco
                JCS Statement of Team Roster SPRe-012-01-
                01023 to 01066)
1061.           Nelson Deposition Ex. 2 -1998 The Evolution of
                JCS 2000 SPRe-002-01-07840 to 07854)
1062.           Spitzer Deposition Ex. 1 - Undated Spitzer hand
                drawn sketch of CAF
1063.           Spitzer Deposition Ex. 2 - 7-12-00 Research and
                Experimentation 1999 Tax Credit Study - INS
                (SPRp-026-01-00584 to 606)
1064.           Spitzer Deposition Ex. 3 - 6-12-00 Research and
                Experimentation 1999 Tax Credit Study -
                Primatek (SPRp-026-01-00726 to 00746)
1065.           Spritzer Deposition Ex. 4 - 9-29-95 Appendix G to
                CCM Requirements MUX Specifications SPRp-
                007-01-00726 to 00751)
1066.           Spritzer Deposition Ex. 5 - 08-95 Technical
                Specification for ATM Voice-Band Multiplexer
                (AVM) SPRe-027-01-00005 to 00047)
1067.           Dwarkha Deposition Ex. 6 3-29-05 Vonage -
                Diagram: How to Get Dial Tone
                VON_096685-6
1068.           2-28-07 Halpern Report Ex. C - Call Trace
                Inbound Call (VON_695938 to 695945)
1069.           2-28-07 Halpern Report Ex. D - Call Trace
                Outbound at Media Gateway
                (VON 695946 to 695982)
1070.           2-28-07 Halpern Report Ex. E - Call Trace
                Outbound at Outbound Proxy
                (VON_029521 to 29527)
1071.           U.S. Patent application No. 08/238,605 and File


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No.             Description                                        I.D.   Off.   Adm. Deposition
                                                                                      or Witness
                History
1072.           U.S. Patent Application No. 08/562,206
1073.           4-24-97 Master Purchase Agreement between
                Sprint management Company and Cisco Systems,
                Inc. CIS0332-524
1074.           12-01 Alliance Agreement between Sprint
                Management Company and Cisco Systems, Inc.
                SPRe-012-01-01229 to 001254
1075.           7-29-05 Sprint/Cisco Amended and Restated
                Alliance Agreement SPRe-012-01-001256 to
                001286
1076.           RTP Analysis and Capacity Requirements
                VON_688164
1077.           Equipment Inventory Document VON_685735-
                VON_685761
1078.           3-31-07 Vonage 2007 10-Q
1079.           net2phone Timeline,
                http://web.net2phone.com/about/company/timeline
                .asp
1080.           Vonage® Provides SIP-based VoIP Services to
                pulver.com, Vonage Press Release, July 23, 2001
                VON_696182
1081.           Vonage Announces the Next Generation of
                Broadband Phone Service With the Most Popular
                Features and Unlimited Calling for One Flat Rate
                of $39.99, Vonage Press Release, March 20, 2002
                VON_696203-VON_696204
1082.           Cisco Introduces New SIP-enabled Voice over IP
                Solutions, Cisco News Release, March 11, 2002
                VON_696151 to 696153
1083.           Vonage Completes $12 MM in Initial Financing,
                Vonage Press Release, May 2, 2001
1084.           Vonage Holdings Corp. Reports Second Quarter
                and Full Year 2006 Results, Vonage Press
                Release, August 1, 2006
1085.           Vonage Announces Pricing Of Its Initial Public
                Offering of Common Stock, Vonage Press Release,

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No.             Description                                          I.D.   Off.   Adm. Deposition
                                                                                        or Witness
                May 23, 2006 VON_696058
1086.           “Cisco Systems Named Overall Leader in Packet
                Voice. VoIP.” Cisco News Release, December 11,
                2001 VON_696126-696128
1087.           “In-Stat Reports 7.9% of U.S. Households Now
                Use a VoIP Telephone Service, Up From 6.5% at
                the End of 02,” In-Stat Press Release, December
                20, 2006 VON_696209
1088.           “Time Warner Cable reaches VoIP deals,”
                cnetnews.com, December 15, 2003 VON_696210
1089.           “VoIP providers face price war,” cnetnews.com,
                November 4, 2003 VON_696179 to 696181
1090.           “Internet Telephone Quality Still Lags, Survey
                Says” PCWorld, July 12, 2005
                VON_696200 to 202
1091.           “More Home Users Call on VoIP Phones,”
                PCWorld. JulY 24, 2006 VON_696186 to 87
1092.           “Sprint scraps high-tech plan: Company lost edge
                on phone switches, officials say,” The Kansas City
                Star, November 25, 1999 VON_696136 to 37
1093.           “Sprint Drops ION, Suspends MMDS Fixed
                Wireless Deployments,” Converge! Network
                Digest, October 18, 2001 VON_696129 to 31
1094.           “A blow to convergence,” Telephonyonline, June
                18, 2001 VON_696239 to 243
1095.           “Is VoIP ready for prime time?,” cnetnews.com,
                August 5, 2003 VON_696122 to 696125
1096.           “Guide to Cisco Systems’ VoIP Infrastructure
                Solution for SIP” Version 1.0, Cisco Systems,
                Inc., 2000 VON_PR1_000569 to 000838
1097.           “Angels steer clear of last year’s disappointing
                tech investments,” San Francisco Business Times,
                September 28, 2001
1098.           Infringement Assertion Letters SHB-009-01-
                00204 to 220
1099.           Standard & Poor’s Industry Survey:
                Telecommunications - Wireline, February 8, 2007

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No.             Description                                        I.D.   Off.   Adm. Deposition
                                                                                      or Witness
1100.           Standard & Poor’s Industry Survey:
                Telecommunications - Wireline, March 22, 2007
1101.           2002-2007 Vonage Awards,
                www.vonage.com/corporate/press_awards.php
                VON_696188 to 193
1102.           CNET Editors’ Choice February 2006
                VON_687532 to 687536
1103.           “Battle of the Bundles: Packaging of Services to
                Accentuate Two-wire Dominance” Legg Mason
                June 2002 SPRp-023-01-00061-00082
1104.           3-13-01 Bernstein Research Call Report on
                Domestic Telecom SPRp-023-01-00045 –
                SPRp-023-01-00060
1105.           Vonage “Digitalvoice” Report Principia Capital
                Group VON_532373 to 532412
1106.           “Sending the Right Signals: Promoting
                Competition Through Telecommunications
                Reform” A Report to the US Chamber of
                Commerce, September 22, 2004
1107.           “Telecommunications Sector, Bruised and
                Battered, Looks to a Brighter Future” FDIC: Bank
                Trends, June 2002
1108.           Sprint 2001 Annual Report and 10-K
1109.           Holder Deposition Ex. 16 - 12-31-00 Selected
                Financial Data VON 572709 to 572714
1110.           Citron Deposition Ex. 3 - 1 1-14-06 Vonage’s
                Form S-1
1111.           Citron Deposition Ex. 6 - Undated Vonage
                Financials and Business Overview VON_571965-
                VON_572006
1112.           Wu Deposition Ex. 1 - 5-23-06 Vonage Prospectus
1113.           4-23-02 Vonage Corporate Presentation
                VON_280790 to 831
1114.           US Patent No. 4748658
1115.           US Patent No. 4991172
1116.           US Patent No. 5003584


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No.             Description                         I.D.    Off.    Adm. Deposition
                                                                         or Witness
1117.           US Patent No. 5115426
1118.           US Patent No. 5115427
1119.           US Patent No. 5204857
1120.           US Patent No. 5212789
1121.           US Patent No. 5327421
1122.           US Patent No. 5339318
1123.           US Patent No. 5345445
1124.           US Patent No. 5345446
1125.           US Patent No. 5363433
1126.           US Patent No. 5365524
1127.           US Patent No. 5297147
1128.           US Patent No. 5373504
1129.           US Patent No. 5384771
1130.           US Patent No. 5392402
1131.           US Patent No. 5422882
1132.           US Patent No. 5425021
1133.           US Patent No. 5426636
1134.           US Patent No. 5428607
1135.           US Patent No. 5434852
1136.           US Patent No. 5440563
1137.           US Patent No. 5452296
1138.           US Patent No. 5452297
1139.           US Patent No. 5473677
1140.           US Patent No. 5473679
1141.           US Patent No. 5483522
1142.           US Patent No. 5483527
1143.           US Patent No. 5506844
1144.           US Patent No. 5509010
1145.           US Patent No. 5513178



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No.             Description                                      I.D.   Off.   Adm. Deposition
                                                                                    or Witness
1146.           US Patent No. 5539884
1147.           US Patent No. 5544163
1148.           US Patent No. 5563939
1149.           US Patent No. 5568475
1150.           US Patent No. 5600643
1151.           US Patent No. 5606553
1152.           US Patent No. 5673262
1153.           US Patent No. 5680390
1154.           US Patent No. 5825780 VON_865215-865648
1155.           US Patent No. 5926482
1156.           US Patent No. 5940393
1157.           US Patent No. 5991301 VONJ66932-871657
1158.           US Patent No. 6067299
1159.           US Patent No. 6104718 VON_865649-866931
1160.           US Patent No. 6115380 VON_862764-864419
1161.           US Patent No. 6181703 VON_853676-862763
1162.           US Patent No. 6324179
1163.           US Patent No. 6343084 VONJ75143-877177
1164.           US Patent No. 6366586 VONJ64420-865214
1165.           US Patent No. 6452928 VON_871658-875142
1166.           US Patent No. 6643282 VON_877178-878607
1167.           Japanese Patent No. 4100452A2
1168.           Japanese Patent No. 7170324A2
1169.           Japanese Patent No. 8242288A2
1170.           Japanese Patent No. 9172683A2
1171.           11-4-00 Declaration of Gregory Milsteed for AU
                Patent No. 693883
1172.           8-31-99 Declaration of Evelyn Swenson for AU
                Patent NO. 693883
1173.           10-11-99 Declaration of Richard Vizard for AU


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No.             Description                                       I.D.   Off.   Adm. Deposition
                                                                                     or Witness
                Patent No. 693883
1174.           1-2-02 Declaration of Michael Rumsewicz for AU
                Patent No. 719131
1175.           International Publication No. WO 94/28660
1176.           Sprint Market Profile Version 2007.1 April 2007
                (SPRp-033-02667)
1177.           Sprint Market Profile Version 2006.2 July 2006
                (SPRp-033-02463)
1178.           Sprint Market Profile Version 2006.3 December
                2006 (SPRE-033-00247)
1179.           Sprint Market Profile Version 2005.1 June 2005
                (SPRp-033-01960)
1180.           Sprint Market Profile Version 2005.2 December
                2005 (SPRp-033-02206)
1181.           Sprint Market Profile Version 2004.1 June 2004
                (SPRp-033-01516)
1182.           Sprint Market Profile Version 2004.2 December
                2004 (SPRP-033-01720)
1183.           Sprint Market Profile Version 2003.1 June 2003
                (SPRP-033-01164)
1184.           Sprint Market Profile Version 2003.2 December
                2003 (SPRP-033-01340)
1185.           Sprint Market Profile Version 2002.1 May 2002
                (SPRP-033-03355)
1186.           Sprint Market Profile Version 2002.2 October
                2002 (SPRP-033-00959)
1187.           Sprint Market Profile Version 2001.1 March 2001
                (SPRP-033-00529)
1188.           Sprint Market Profile Version 2001.3 December
                2001 (SPRP-033-00752)
1189.           Sprint Market Profile Version 2000.1 May 2000
                (SPRP-033-03131)
1190.           Sprint Market Profile Version 2000.2 November
                2000(SPRP-033-00315)
1191.           Sprint Market Profile Version 99.1 March 1999


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No.             Description                                        I.D.   Off.   Adm. Deposition
                                                                                      or Witness
                (SPRP-033-00211)
1192.           Sprint Market Profile Version 99.4 December
                1999 (SPRP-033-02920)
1193.           Sprint Market Profile Version 98.3 September
                1998 (SPRP-033-00001)
1194.           Sprint Market Profile Version 98.4 December
                1998 (SPRP-033-00103)
1195.           Sprint Market Profile Version 95.4 December 1995
                (SPRP-033-02838)
1196.           02-07-06 Vonage’s Response and Objections to
                Sprint’s First Set of Interrogatories
1197.           12-29-06 Vonage’s First Supplemental Response
                to Sprint’s First Set of Interrogatories
1198.           4-10-07 Vonage’s Second Supplemental Response
                to Sprint’s First Set of Interrogatories
1199.           5-15-07 Vonage’s Third Supplemental Response
                to Sprint’s First Set of Interrogatories
1200.           6-11-07 Vonage’s Fourth Supplemental Response
                to Sprint’s First Set of Interrogatories
1201.           3-13-06 Vonage’s Response and Objections to
                Sprint’s Second Set of Interrogatories
1202.           9-6-06 Vonage’s Response and Objections to
                Sprint’s Third Set of Interrogatories
1203.           2-12-07 Vonage’s Response to Sprint’s Fourth
                Set of Interrogatories
1204.           2-7-06 Vonage’ Response and Objections to
                Sprint’s First Request for the Production of
                Documents and Things
1205.           9-6-06 Vonage’s Response to Sprint’s Second
                Request for Production of Documents and Things
1206.           2-12-07 Vonage’s Response to Sprint’s Third
                Request for Production of Documents and Things
1207.           4-11-07 Vonage’s Response to Sprint’s Fourth
                Request for Production of Documents and Things
1208.           3-20-06 Sprint’s Response to Vonage’s First Set


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No.             Description                                        I.D.   Off.   Adm. Deposition
                                                                                      or Witness
                of Interrogatories
1209.           3-13-07 Sprint’s First Supplemental Response to
                Vonage’s First Set of Interrogatories
1210.           5-17-07 Sprint’s Second Supplemental Response
                to Vonage’s First Set of Interrogatories
1211.           5-17-07 Sprint’s Third Supplemental Response to
                Vonage’s First Set of Interrogatories
1212.           3-29-07 Sprint’s Response to Vonage’s Second
                Set of Interrogatories
1213.           3-20-06 Sprint’s Response to Vonage’s First
                Request for Production of Documents and Things
1214.           2-12-07 Sprint’s Response to Vonage’s Second
                Request for Production of Documents and Things
1215.           2-14-07 Sprint’s Response to Vonage’s Third
                Request for Production of Documents and Things
1216.           5-14-07 Sprint’s First Supplemental Response to
                Vonage’s Third Request for Production of
                Documents and Things
1217.           7-02 Vonage Simulation Data Version 2.22
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                                                                           or Witness
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1305.           Reserved For Demonstratives
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1308.           Reserved For Demonstratives
1309.           Reserved For Demonstratives
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1312.           Reserved For Demonstratives
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1331.           Reserved For Demonstratives



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1332.           Reserved For Demonstratives
1333.           Reserved For Demonstratives
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                Network Architecture, October 1992
1458.           Advanced Signaling Protocol for Broadband ISDN
                Services, 1995
1459.           ATM Theory and Application, ATM Layer
                VPI/VCI Level Addressing, Apr. 23, 1994
1460.           ATM Theory and Application, ATM Layer
                VPI/VCI Level Addressing, Apr. 23, 1994
                (duplicate of 1459)
1461.           ATM for Narrowband Services, Apr. 13, 1994
                (VON_PRI_000534)
1462.           ATM for Narrowband Services, Apr. 13, 1994
                (VON_PRI_000534) (duplicate of 1461)
1463.           B-IDSN ATM Adaptation Layer (AAL)
                Specification, Types 1 & 2, Jul. 21, 1995
1464.           An Experimental ATM Network Featuring De-
                Coupled Modular Control, Nov. 1992
1465.           An Experimental ATM Network for B-ISDN
                Research, Nov. 1992
1466.           ATM for Narrowband Services IEEE
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                (VON_PRI_000534)
1467.           ISDN-Principles Of Intelligent Network
                Architecture, Oct. 1992
1468.           An Experimental ATM Network for B-ISDN, 1992


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No.             Description                                           I.D.   Off.   Adm. Deposition
                                                                                         or Witness
1469.           Broadband ISDN Interworking, July 1992
                (VON_PRI_000530)
1470.           Voice and Telephony Over ATM to the Desktop
                Specification, Feb., 1999
1471.           01-31-94 Letter to PatPro from Bonnie K.
                Chambers of Sprint Re: Novelty Search Request,
                cc: Michael Setter, attaching 2 drawings of
                Michael Setter (SPRP-01-029-00067)
1472.           02-14-94 Letter from PatPro to Bonnie K.
                Chambers of Sprint Re: Novelty Search
                Performed at Direction of Michael Setter (SPRP-
                01-029-00070)
1473.           04-05-95 Letter from Polyresearch Service to
                Mollie Drew of Sprint Re: international Invalidity
                Search - Telecommunications Network performed
                at direction of Michael Setter, transmitting search
                report (SPRP-01-029-00073)
1474.           Transmittal cover page from Joe Christie to
                Harley Ball relating to provision of legal advice
                regarding BB-IN PA (SPRP-01-029-00074)
1475.           09-23-98 Email Re: Cisco Conference Call
                Notification (SPRP-028-01-00020)
1476.           Article “Cisco embraces ‘Internet economy’”
                USA Today (SPRP-028-01-00027)
1477.           06-23-98 Draft MOU between Cisco and Sprint
                (SPRP-028-01-00028)
1478.           09-21-98 Letter from Cisco to Marty Kaplan of
                Sprint Re: Terms of Agreement for JCS2000
                project (SPRP-028-01-00039)
1479.           Undated Draft MOU between Cisco and Sprint
                and Chart of Negotiation Issues prepared by Art
                Chaykin and communicated to Harley Ball and
                Marty Kaplan of Sprint (SPRP-028-01-00069)
1480.           Undated JCS2000 Action Plan for Contract
                Termination (SPRE-002-01-00115)
1481.           02-03-00 Email Re: JCS2000/Bonanza/ION
                employee seeking to work for Nortel, from
                Thomas Moore to Harley Ball & Charles Wunsch,

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No.             Description                                       I.D.   Off.   Adm. Deposition
                                                                                     or Witness
                cc: Michael Cordes SPRE-002-01-06844
1482.           9-30-05 letter from P. McPherson to B. Webb Re.
                Response to Sprint’s July 20, 2005 letter
                regarding VoP Patent Issues
1483.           Sprint’s R&D study, 1998 Interview Binder 21 by
                Ernst&Young LLP (SPRp-026-01-00420 to 450)
1484.           Sprint’s R&D study, 1998 Interview Binder 23 by
                Ernst&Young LLP (SPRp-026-01-00451 to 580)
1485.           Sprint’s R&D study, 1999 Interview Binder 27 by
                Ernst&Young LLP (SPRp-026-01-00581 to 647)
1486.           Sprint’s R&D study, 1999 Interview Binder 28 by
                Ernst&Young LLP (SPRp-026-01-00648 to 722)
1487.           Sprint’s R&D study, 1999 Interview Binder 17 by
                Ernst&Young LLP (SPRp-026-01-00723 to 792)
1488.           Sprint’s R&D study, 1998 Interview Binder 11 by
                Ernst&Young LLP (SPRp-026-01-00793 to 830)
1489.           2003 Microsoft internet and networking
                dictionary
1490.           Sprint’s R&D study, Sample Dollar Interview
                Binder 1997-40 by Ernst&Young LLP (SPRp-
                026-01-00001 to 66)
1491.           Sprint’s R&D study, 1998 Interview Binder 9 by
                Ernst&Young LLP (SPRp-026-01-00067 to 159)
1492.           Sprint’s R&D study, 1998 Interview Binder 1 by
                Ernst&Young LLP (SPRp-026-01-00160 to 419)
1493.           Sprint’s R&D study, Sample Dollar Interview
                Binder 1997-20 by Ernst&Young LLP (SPRp-
                026-01-00831 to 1043)
1494.           Dan Cohen, "A Protocol for Packet Switching
                Voice Communication", Computer Networks,
                Vol. 2, pp.320-331 (1978)
1495.           RFC 1889: RTP Protocol January 19, 1996
1496.           Composite Exhibit: July 13, 2004 Letters
1497.           Composite Exhibit: Letters to/from
                TheGlobe.com and/or Voiceglo



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No.             Description                                      I.D.      Off.     Adm. Deposition
                                                                                         or Witness
1498.           Composite Exhibit: Letters to/from Broadvox
                Corp.
1499.           Composite Exhibit: Letters to/from Deltathree,
                Inc.
1500.           Composite Exhibit: Letters to/from Dialpad
                Communications, Inc.
1501.           Composite Exhibit: Letters to/from Vonage




September 11, 2007                                   Respectfully submitted,


                                                      /s/ Terrence J. Campbell
                                                     Terrence J. Campbell -18377
                                                     Catherine C. Theisen - 22360
                                                     BARBER EMERSON, L.C.
                                                     1211 Massachusetts Street
                                                     P.O. Box 667
                                                     Lawrence, KS 66044
                                                     (785)843-6600
                                                     (785) 843-8405 Facsimile
                                                     tcampbell@barberemerson.com
                                                     ctheisen@barberemerson.com

                                                     /s/ Donald R. McPhail
                                                     Patrick D. McPherson
                                                     Barry Golob
                                                     Donald R. McPhail
                                                     Duane Morris LLP
                                                     1667 K Street N.W.
                                                     Washington, DC 20006-1608
                                                     202-776-7800
                                                     pdmcpherson@duanemorris.com
                                                     bgolob@duanemorris.com
                                                     drmcphail@duanemorris.com

                                                     Attorneys for Defendants/Counterclaim
                                                     Plaintiffs Vonage Holdings Corp. and
                                                     Vonage America, Inc.

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                                 CERTIFICATE OF SERVICE

          I hereby certify on September 11, 2007, that a copy of Defendants Vonage Holdings

Corp. and Vonage America, Inc.’s Second Supplemental Exhibit List was filed and served via

the Court’s electronic filing system:

                               B. Trent Webb
                               Adam P. Seitz
                               Erick A. Buresh
                               Shook, Hardy & Bacon LLP
                               2555 Grand Boulevard
                               Kansas City, MO 64108-2613
                               bwebb@shb.com
                               aseitz@shb.com
                               eburesh@shb.com

                               Attorneys for Plaintiff
                               Sprint Communications Company L.P.


                                                        /s/ Terrence J. Campbell
                                                        Attorney for Defendants




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